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 9

10                      UNITED STATES DISTRICT COURT
11                     CENTRAL DISTRICT OF CALIFORNIA
                                  ******
12

13   UNITED STATES OF AMERICA,              )       CASE NO. 2:24-CR-00091-ODW
14                                          )
                      Plaintiff,            )       DEFENDANT'S NOTICE OF
15
                                            )       MOTION AND MOTION IN
16   V.                                     )       LIM/NE TO PRECLUDE ANY
17                                          )       REFERENECESTO
18
                                            )       DEFENDANT'S
     ALEXANDER SMIRNOV,                     )       ALLEGED DISLOYALTY
19
                                            )
20                     Defendant,           )       Honorable Otis D. Wright II
21                                                  November 25, 2024 at 10:00 a.m.

22
           PLEASE TAKE NOTICE that on November 25, 2024 at 10:00 a.m., or as
23
     soon thereafter as counsel may be heard, Defendant, ALEXANDER SMIRNOV
24

25   ("Mr. Smirnov"), by and through his attorneys, DAVID Z. CHESNOFF, ESQ., and
26
     RICHARD A. SCHONFELD, ESQ., of the law firm of CHESNOFF &
27
     SCHONFELD, will ask this Honorable Court to enter an order granting his Motion
28
                                                1
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 1   in Limine to Preclude Any References to Mr. Smirnov's Alleged Disloyalty to the
 2
     United States Government. See Fed. R. Evid. 401,402,403, 404(6).
 3

 4         This Motion is made and based upon the attached Memorandum of Points and

 5   Authorities, filed October 31, 2024.
 6
           On October 22, 2024, Mr. Smirnov sent an email to counsel for the
 7
 8   government, seeking the government's position on this motion in limine. Counsel

 9   for the government subsequently advised that the government opposed this motion.
10
           Dated this 31st day of October, 2024.
11

12                                          Respectfully Submitted:
13                                          CHESNOFF & SCHONFELD
14
                                             /s/ David Z. Chesnoff
15
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23                                          ALEXANDERSMIRNOV
24

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 1                MEMORANDUM OF POINTS AND AUTHORITIES
2
     A.    Background
3

4          The two-count Indictment in this case (ECF No. 1, Feb. 14, 2024) charges Mr.
5
     Smirnov with: 1) Making False Statements to a Government Agent, in violation of
6
     18 U.S.C. § 1001; and 2) Falsification of Records in a Federal Investigation, in
7

 8   violation of 18 U.S.C. § 1519. As alleged in the Indictment, Mr. Smirnov served as
 9
     a confidential human source ("CHS") for the FBI during the preceding years,
10

11
     reaching back to 2013.

12         Despite the Indictment's allegations of Mr. Smirnov's dishonesty, the
13
     discovery produced to date shows that, starting back in 2011, the FBI eagerly
14

15
     continued to "work" him until October 13, 2023-the date when Mr. Smirnov's FBI

16   handlers compiled his final, complimentary Field Office Annual Source Report (FD-
17
     1040a), covering the period from October 2022 to October 2023. See BATES USA-
18

19   05-00000088-99 (noting, among other things, that Mr. Smiinov had never been a

20   subject of an FBI investigation and had maintained clean affiliations and traits;
21
     report notes no instance of counterespionage or any other form of compromised
22

23   loyalty or allegiance).

24         The FBI's decision to keep Mr. Smirnov working for them until late 2023
25
     should thus be borne in mind-particularly when considering that the allegations in
26

27   Count One revolve primarily around false statements made back in 2015 to 2017

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 1   (see ECF No. 1 at 34-35, if57), and that Count Two's allegations pertain to acts and
2
     statements that allegedly took place in June 2020-three years before the
3

4    Government decided to stop using him as a source of information and, instead,

5    prosecute him federally.
6                                                                                               I
           Despite this exculpatory chronology and Mr. Smirnov's blemish-free service
 7

 8   to the United States Government, Mr. Smirnov expects the prosecution-at trial and

 9   based on the contents of their Indictment-to "dirty him up" by seeking to portray
10
     him as a "Russian Spy" or some sort of equally derogatory, disloyal type of
11

12   operative. Indeed, the prosecution's fruitless efforts along these lines started back in
13   February, at Mr. Smirnov's very first detention hearing in Nevada. ECF No. 20 at
14
     38 (after prosecutor warns that Mr. Smirnov-an Israeli-American citizen born in
15
16   Ukraine-might flee to Russia, Magistrate Judge states: "I understand the concern
17   about foreign intelligence agencies potentially resettling Mr. Smirnov outside of the
18
     United States, ... but I think on some level that's speculative ... I don't know what
19
20   Mr. Smimov will be thought of in Russia, but my guess is ... he probably thinks
21
     that's not the most attractive place to go either if he was in fact inclined to go hide
22
     somewhere."). Indeed-and as Mr. Smiinov will demonstrate at trial under Rule
23

24   405(b )-his 12 years of service to the United States demonstrates (through the FBI's
25
     own records) countless specific instances of Mr. Smirnov providing helpful
26
     information, with reproach-free conduct. See, e.g., United States v. Kail, No. 18-CR-
27

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 1   00172-BLF-1, 2021 WL 261135, at *6 (N.D. Cal. Jan. 26, 2021) ("[W]hen a
2
     person's character or character trait is an essential element of the crime charged, the
3

4    character may also be proved by relevant specific instances of conduct.") (citing Fed.

 5   R. Evid. 405(b) and State ofAriz. v. Elmer, 21 F.3d 331,335 (9th Cir. 1994)).
6
           Against this backdrop of Mr. Smirnov's undivided, years-long loyalty to the
7

 8   United States, this Court should rule in limine that the Government cannot, at trial,

 9   adduce any evidence or make any references to the effect that Mr. Smirnov was
10
     unpatriotic, was working as a "double agent" for another government, or the like.
11
12   See Fed. R. Evid. 402, 403.
13   B.    This Court Should, Under Rule 403, Preclude Unfounded References to
14         Mr. Smirnov's Alleged Disloyalty to the United States Government
15         While Rules 401 and 402 of the Federal Rules of Evidence exclude irrelevant
16
     evidence (that is, evidence that is not probative of a disputed fact "of consequence"),
17
18   Rule 403 provides that even evidence containing some peripheral relevance should
19
     also be excluded where-as here-its limited probative value is significantly
20
     outweighed by countervailing considerations:
21

22         The court may exclude relevant evidence if its probative value is
           substantially outweighed by a danger of one or more of the following:
23
           unfair prejudice, confusing the issues, misleading the jury, undue delay,
24         wasting time, or needlessly presenting cumulative evidence.
25
     Fed. R. Evid. 403; see also United States v. Krug, No. CR 09-01148-MMM, 2013
26
     WL 12218761, at *2 (C.D. Cal. Jan. 4, 2013) (in prosecution charging threat to
27

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                                                5
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 1   government employee, district court, under Rule 403, denies government's motion
2
     in limine to exclude defendant's reference to Bureau of Prisons employee's refusal
3

4    to submit to a memory test);United States v. Salman, 618 F. App'x 886, 889 (9th

5    Cir. 2015) ("Federal Rule of Evidence 401 provides that evidence is relevant if 'it
6
     has any tendency to make a fact more or less probable than it would be without the
7

 8   evidence' and 'the fact is of consequence in determining the action,' and Federal

 9   Rule of Evidence 402 requires that irrelevant evidence be excluded.").
10
           While Rule 403 decisions are reviewed on appeal under an abuse of discretion
11

12   standard, see, e.g., Mulligan v. Nichols, 835 F.3d 983,992 (9th Cir. 2016), the Ninth
13   Circuit does not hesitate to find error in district court admissions of unfairly
14
     prejudicial evidence. Thus, for example:
15

16         Evidentiary rulings are reviewed for an abuse of discretion. See EEOC
           v. Pape Lift, Inc., 115 F.3d 676, 680 (9th Cir.1997). Evidence is
17         inadmissible if it is not relevant, Fed. R. Evid. 401, or "if its probative
18         value is substantially outweighed by the danger of unfair prejudice,"
           Fed. R. Evid. 403.
19

20         The testimony elicited by the Government regarding Lawrence's
           ["unconventional"] marriage and the circumstances of that relationship
21
           was not probative of Lawrence's guilt or innocence of the [fraud and
22         false statement] crimes with which he was charged. Any relevance this
           testimony may have had is easily outweighed by the unfair prejudicial
23
           effect it had on the jury's ability to focus on the issues relevant to the
24         charges. See United States v. Hitt, 981 F .2d 422, 424 (9th Cir. 1992) ..
           .. Accordingly, the district court abused its discretion in allowing this
25
           testimony to be heard by the jury.
26

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 1   United States v. Lawrence, 189 F.3d 838, 842-43 (9th Cir. 1999) (emphasis added);
2
     see also United States v. Fawbush, 634 F.3d 420, 421-423 (8th Cir. 2011) (Eighth
3

4    Circuit reverses and remands for new trial: '"Unfair prejudice' ... means an undue

5    tendency to suggest decision on an improper basis, commonly, though not
6
     necessarily, an emotional one." Fed. R. Evid. 403 advisory committee's note. We
7

 8   believe the evidence that Fawbush had sexually abused his daughters ... to have

9    been so inflammatory on its face as to div_ert the jury's attention from the material
10
     issues in the trial . . . . Consequently, the prejudicial effect of this evidence
11

12   outweighed any legitimate probative value it may have had.") (emphases added).

13         These principles compel exclusion of evidence of (or references to) Mr.
14
     Smirnov's alleged "disloyalty" to the United States. First, such references would be
15

16   false and, therefore, probative of nothing "of consequence" to the counts charged in
17   the indictment. As such, without needing even to address Rule 403, this Court should
18
     hold that Rule 402 precludes the Government's irrelevant evidence. See, e.g., Hitt,
19

20   981 F.2d at 423-24 ("The photograph's probative value [depicting a gun not
21
     probative of defendant's guilt] was exceedingly small. .... [E]ven if the rifle's inside
22
     condition were somehow related to its outside appearance, it's virtually impossible
23

24   to tell whether the gun is clean or dirty from the photograph, in which the rifle is
25
     seen from several feet away. The photograph might well have been excludible under
26
27

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 1   Rule 402 as totally irrelevant, had a Rule 402 objection been made.") (reversing
 2
     conviction).
 3

 4         But if this Court assumes that falsely smearing Mr. Smirnov's patriotism is

 5   probative of something, that meager, imaginary value is substantially outweighed by
 6
     the risk of unfair prejudice, in addition to confusing the issues and misleading the
 7
 8   jury about the primary (if not solitary) fact "of consequence" under Section 1519:
 9   that is, whether the Government can prove beyond a reasonable doubt that Mr.
10
     Smirnov indeed made statements that actually "obstructed" a federal investigation.
11
12   This the Government cannot do-at least, they cannot do it without unfairly
13
     prejudicing him and districting the jury with a side-trial about the non-issue of
14
     "patriotism." See, e.g., United States v. Preston, 873 F.3d 829, 841-42 (9th Cir.
15
16   2017) ("[T]he district court abused its discretion by finding the evidence admissible
17
     under Rule 403. Rule 403 is meant to 'ensure that potentially devastating evidence
18
     oflittle probative value will not reach the jury" .... We have long held that ' [w]here
19
20   the evidence is of ve1y slight (if any) probative value, it's an abuse of discretion to
21
     admit it if there's even a modest likelihood of unfair prejudice or a small risk of
22
     misleading the jury." United States v. Wiggan, 700 F.3d 1204, 1213 (9th Cir. 2012)
23

24   (quoting Hitt, 981 F.2d at 424) (emphases added)); see also United States v. Schulte,
25
     No. S-2 17 CR. 548 (PAC), 2020 WL 264687, at *3 (S.D.N.Y. Jan. 17, 2020)
26
     (denying Government's attempt to introduce post-arrest evidence-not present in
27

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                                                8
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 1   this case-of unpatriotic statements: "The motion is denied as it relates to
2
     'patriotism.' Schulte's statements about his anger towards the Government because
3

4    he believes he was falsely arrested and indicted ... do not contradict his patriotism

5    pre-arrest. With respect to 'bias' concerning racist statements ... , the probative
6
     value of the statements is substantially outweighed by prejudice; they are excluded
7

 8   under FRE 403.").

 9         Particularly in today's polarized political world-where the national party that
10
     created the present prosecution team believes "Russian collusion" to be a threat of
11

12   real, ongoing substance, while the other party (which may have won a Presidential
13   election by the time this motion is ripe for resolution) deems it is a mere "witch
14
     hunt"-this Court should invoke Rule 403 (if not 402 or even Rule 404(b )) and
15

16   preclude the references that the Government plainly intends to proffer against Mr.
17   Smirnov. See United States v. Trump, No. 23-80101-CR, 2024 WL 2890801, at *7
18
     (S.D. Fla. June 10, 2024) (under Rule 404(b), which cannot be invoked to introduce
19
20   to show that a defendant, by acting in a certain, uncharged way, had a "propensity"
21
     to act the same way as charged in the indictment: "[T]he permissibility of Rule
22
     404(b) evidence is not always self-evident except until trial when the contours of
23

24   defenses are crystallized and when the Court can assess the potential probative value
25
     and/or prejudicial impact of such evidence in light of the full evidentiary picture.").
26
     Because any such references risk inflaming the jury and leading them to convict
27

28
                                                9
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 1   based on uncharged conduct (namely, that Mr. Smirnov is "deceitful" and "disloyal"
 2
     to the United States in some unexplained way), they should be precluded.
 3
 4   C.    Conclusion

 5
           For the foregoing reasons, Mr. Smirnov respectfully requests that this Court
 6
     grant this motion in limine.
 7

 8         DATED this 31st day of October, 2024.
 9
                                             Respectfully Submitted:
10

11                                           CHESNOFF & SCHONFELD
12
                                              /s/ David Z. Chesnoff
13
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22

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 1                            CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on this 31st day of October, 2024, I caused the forgoing

 4   document to be filed electronically with the Clerk of the Court through the CM/ECF
 5
     system for filing; and served on counsel of record via the Court's CM/ECF system.
 6

 7
                                     Isl Camie Linnell
                                     Employee of Chesnoff & Schonfeld
 8

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